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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:

 ERIN ENERGY CORPORATION                                                    CASE NO. 18-32106
   fdba CAMAC ENERGY INC.
  fdba PACIFIC ASIA PETROLEUM INC.
 ERIN ENERGY LTD.
 ERIN ENERGY KENYA LIMITED
 ERIN PETROLEUM NIGERIA LIMITED
                                                                                    CHAPTER 11
    DEBTORS

              NOTICE OF APPEARANCE, REQUEST FOR ALL NOTICES,
                    AND DEMAND FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that J. Scott Douglass, Attorney at Law, on behalf of

J. Scott Douglass as an "Interested Party", hereby submits this Notice of Appearance in the

above captioned proceeding and requests notice of all hearings and conferences herein and

makes a demand for service of all papers herein, including all papers and notices pursuant to

Bankruptcy Rules 2002, 3017, 9007 and 9010 and §1109(b) of the Bankruptcy Code. All notices

given or required to be given in this jointly administered case shall be given to and served at the

following address:

                                      J. Scott Douglass
                                      Attorney at Law
                                      1811 Bering Dr., Suite 420
                                      Houston, Texas 77057
                                      713-227-7492
                                      713-227-7497 (facsimile)
                                      jsd@aol.com (email)


         PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules and section of the Bankruptcy Code

specified above, but also includes, without limitation, the answer to the involuntary petition, the

schedules, statement of financial affairs, operating reports, any plan of reorganization or
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disclosure statement, any letter, application, motion, complaint, objection, claim, demand,

hearing, petition, pleadings or request, whether formal or informal, whether written or oral, and

whether transmitted or conveyed by mail, delivery, electronic mail, telephone, telegraph, telex or

otherwise filed with or delivered to the Bankruptcy Clerk, Clerk, Court, or Judge (as those terms

are defined in Bankruptcy Rule 9001) in connection with and with regard to the above referenced

bankruptcy case and any proceedings related thereto.

       PLEASE TAKE FURTHER NOTICE that the Claimant intends that neither this

Notice of Appearance nor any later appearance, pleading, claim or suit shall waive (i) the right of

the Claimant to have final orders in non-core matters entered only after de novo review by a

district judge; (ii) the right of the Claimant to trial by jury in any proceedings so triable in this

case or any case, controversy or proceeding related to this case; (iii) the right of the Claimant to

have the United States District Court withdraw the reference in any matter subject to the

mandatory or discretionary withdrawal; or (iv) any other rights, claims, actions, defenses, setoffs,

or recoupments to which the Claimant is or may be entitled under agreements, at law, in equity

or otherwise, all of which rights, claims, actions, defenses, setoffs, and recoupments the

undersigned expressly reserves on behalf of the Claimant.

       Dated: July 13, 2018




                                                      J. SCOTT DOUGLASS
                                                      State Bar No. 06049450
                                                      Federal Bar No. 9073
                                                      1811 Bering Dr., Suite 420
                                                      Houston, Texas 77057
                                                      713-227-7492
                                                      713-227-7497 (facsimile)
                                                      Email: jsd@aoLcorn




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                               CERTIFICATE OF SERVICE


       Counsel certifies that a true and correct copy of the foregoing has been forwarded to all
counsel via the electronic filing system of the United States District Court for the
Southern District of Texas on the 13th day of July, 2018.




                                            J. Scott Douglass




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